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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


  IN RE: NATIONAL PRESCRIPTION,                 )       MDL CASE NO. 1:17 MD 2804
  OPIATE LITIGATION                             )
                                                )
  This document relates to the following cases: )       JUDGE DAN AARON POLSTER
                                                )
  Lee County, Va. v Purdue Pharma, LP, et al., )
  1:19 OP 45251-DAP                             )       OPINION AND ORDER
  Dickenson County v. Purdue Pharma, LP,        )
  et al., 1:19 OP 45252-DAP,                    )
  Washington County, Va. v. Purdue Pharma, )
  LP, et al., 1:19 OP 45254-DAP,                )
  Pittsylvania County v. Purdue Pharma, LP, )
  et al., 1:19 OP 45247-DAP,                    )
  City of Norton, Va. v. Purdue Pharma, LP,     )
  et al., 1:19 OP 45249,                        )
  Henry County, Va. v. Purdue Pharma, LP,       )
  et al., 1:19 OP 45245,                        )
  Page County v. Purdue Pharma, LP, et al.,     )
  1:19 OP 45275,                                )
  City of Galax, Va. v. Purdue Pharma, LP,,     )
  et al., 1:19 OP 45243,                        )
  Montgomery County v. Purdue Pharma, LP, )
  et al., 1:19 OP 45234,                        )
  Giles County v. Purdue Pharma, LP, et al.,    )
  1:19 OP 45236,                                )
  City of Alexandria v. Purdue Pharma, LP,      )
  et al., 1:19 OP 45246                         )
  _______________________________________)


         These cases are before the Court on Plaintiffs’ Objections to Filing Plaintiff Fact Sheets

  and Amended Complaints in this Court prior to a Ruling on Their Motions to Remand, etc. Doc

  #: 1803. Plaintiffs contend that the Court lacks subject matter jurisdiction over their cases; thus,
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  they object to being compelled to file Plaintiff Fact Sheets prior to a ruling on their remand

  motions. Id. In support, Plaintiffs cite numerous Fourth Circuit cases. Id.

         On December 12, 2017, the Judicial Panel on Multidistrict Litigation (“JPML”)

  consolidated for pretrial management, before the undersigned in the Northern District of Ohio,

  actions alleging unlawful marketing and diversion of prescription opiates by the manufacturers

  and distributors of those products nationwide. Doc #: 1. The JPML transferred approximately

  64 cases to me, having concluded that “centralization will substantially reduce the risk of

  duplicative discovery, minimize the possibility of inconsistent pretrial obligations, and prevent

  conflicting rulings on pretrial motions.” Id. at 3. At that time, there were 16 remand motions

  pending in the transferred cases. The JPML noted that “[s]hould the [undersigned] deem remand

  of any claims or actions appropriate . . . , then he may accomplish this by filing a suggestion of

  remand to the Panel. . . .As always, we trust such matters to the sound judgment of the

  [undersigned].” Doc #: 1 at 4.

         On December 13, 2017, the Court held a teleconference with counsel during which it

  discussed, among other things, the subject of remand motions. The Court quickly determined,

  and counsel agreed, that a moratorium should be put on briefing of the remand motions with one

  exception, State of West Virginia, et al. v. McKesson Corp.– a case that was removed a second

  time after the transferor district court had remanded it. Minutes of Teleconference etc., Doc #: 4

  at 2. As of June 28, 2019, there were 2087 cases and approximately 70 remand motions pending

  in this MDL.

         In addition to the aforementioned authority to conduct pretrial case management granted

  to the Court by the JPML, Rule 16 of the Federal Rules of Civil Procedure grants the Court the


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  authority to adopt special procedures for managing potentially difficult or protracted actions that

  may involve complex issues, multiple parties, and/or difficult legal questions. Fed. R. Civ. P.

  16(c)(2)(L). And finally, federal courts “possess certain ‘inherent powers,’ not conferred by rule

  or statute, ‘to manage their own affairs so as to achieve the orderly and expeditious disposition

  of cases.’” Goodyear Tire & Rubber Co. v. Haeger, 137 S.Ct. 1178, 1186 (2017) (quoting Link

  v. Wabash R. Co., 370 U.S. 626, 630-31 (1962); Dietz v. Bouldin, 136 S.Ct. 1885 (2016)

  (explaining that “district courts have the inherent authority to manage their dockets and

  courtrooms with a view toward the efficient and expedient resolution of cases.”) (numerous

  citations omitted).

         The Court is fully aware of the many pending remand motions challenging subject matter

  jurisdiction. However, the Track One trial is scheduled to begin in mid-October 2019, the Court

  and Special Masters are ramping up settlement efforts, and the Court and its research and writing

  team are simultaneously reviewing and addressing 40 Daubert and summary judgment motions.

  In order to conserve judicial resources and manage its MDL docket efficiently, the Court

  exercises its inherent authority along with the authority granted by the JPML and the Federal

  Rules of Civil Procedure not to address Objecting Plaintiffs’ remand motions at this time. The

  Court assures Objecting Plaintiffs that it will handle the remand motions in due course.

         Thus, Plaintiffs’ Objections are OVERRULED and Objecting Plaintiffs are DIRECTED

  to follow the MDL procedures relating to the Plaintiff Fact Sheets and Amended Complaints.

  Doc #: 1106 at 3 n.7.

         IT IS SO ORDERED.
                                                 /s/ Dan A. Polster July 9, 2019
                                                Dan Aaron Polster
                                                United States District Judge


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